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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

UNITED STATES OF AMERICA,

             Plaintiff,                             Case No. 21-cr-20184

vs.                                                 Hon. Matthew F. Leitman
                                                    United States District Judge
D1 – MICHAEL FRALEY,
     a/k/a “Sarge,”

          Defendant.
__________________________________________________________________/

           PROTECTIVE ORDER FOR DISCOVERY MATERIALS

      For the reasons stated in the government’s Motion for Protective Order, it is

hereby ORDERED under Rule 16(d) of the Federal Rules of Criminal Procedure:

      1.     Any and all discovery material provided in this case by the

Government to Defendant is to be used by Defendant and his counsel solely for the

preparation of their defense. No disclosure of these materials is authorized except

as necessary to the preparation of the defense in this case, and such determination

of necessity is to be made by counsel for the Defendant, not by the Defendant

himself. This limitation applies to all discovery provided by the Government in this

criminal action after issuance of this Order.

      2.     Disclosure of discovery materials for purposes related to defense of

the criminal case is permitted to: (a) members of the defense team, consisting of
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counsel, co-counsel, paralegals, investigators, litigation support personnel, the

Defendant, and secretarial staff; (b) experts or consultants retained to assist in

preparation of the defense; (c) potential witnesses who are deemed necessary by

the defense team in connection with this case; and (d) this Court.

      3.     Counsel for Defendant shall not allow their client to retain any audio

or video recordings, or reports related to those recordings, provided in discovery

by the government.

      4.     That counsel for the Defendant: (a) shall not allow his client, or any

other potential witness, to retain any audio or video recordings, or reports related to

those recordings, provided in discovery by the government, absent further order by

this Court; (b) will take all reasonable steps necessary to ensure that government

discovery materials are not improperly disclosed or distributed; and (c) shall

destroy or return the government discovery materials upon the conclusion of this

matter.

      IT IS SO ORDERED.

                                        /s/Matthew F. Leitman
                                        MATTHEW F. LEITMAN
                                        UNITED STATES DISTRICT JUDGE

Dated: April 7, 2021




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I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on April 7, 2021, by electronic means and/or ordinary mail.

                                             s/Holly A. Monda
                                             Case Manager
                                             (810) 341-9764




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